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     Attorney for MICHAELANGELO SANCHEZ
5

6                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
7
     THE UNITED STATES OF AMERICA,                 ) No. 18-104 KJM
8
                     Plaintiff,                    )
9
                                                   ) STIPULATION AND [PROPOSED]
             v.                                    ) ORDER FOR TRAVEL FOR 6 HOURS,
10                                                 )
     MICHAELANGELO SANCHEZ,                        ) Date:
11                                                 ) Time:
12
                     Defendant.                    ) Judge: Hon. Magistrate Carolyn K. Delaney
     ================================)
13

14           Mr. Sanchez’s special conditions of pre-trial release are found in ECF document 14. Special
15   Condition 13 requires Mr. Sanchez to wear a home electronic monitoring device and Special
16
     Condition 14 requires him to remain inside of his house, subject to certain limitations, unless
17
     approved by his pre-trial services officer.
18
             Mr. Sanchez would like to attend the high school celebration of a relative in Stockton at a
19

20   location less than five miles from his own house. The celebration will be from 5:00 p.m. to 11:00

21   p.m. on Saturday, June 2, 2018. All details of the names of the relatives and the location of the
22
     celebration have been provided to pre-trial services and the government.
23
             The parties agree that Mr. Sanchez may be allowed to be out of his home from 5:00 p.m. to
24
     11:20 p.m. on Saturday, June 2, 2018 (the additional 20 minutes is for travel time) and that his
25

26   mother must accompany him at all times.

27           IT IS HEREBY STIPULATED AND AGREED between the defendant Michaelangelo
28
     Sanchez, by and through his undersigned defense counsel, and the United States of America, by


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1    and through its counsel, Assistant U.S. Attorney Amanda Beck, that Mr. Sanchez is allowed to be
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     out of his home from 5:00 p.m. to 11:20 p.m. on Saturday, June 2, 2018 to attend the graduation
3
     celebration in Stockton. His mother must accompany him at all times
4
            I have spoken to PTS Darryl Walker and he does not oppose returning this request.
5

6
     Dated: May 30, 2018                                  Respectfully submitted,
7
                                                          /s/ Michael D. Long
8
                                                          MICHAEL D. LONG
9                                                         Attorney for Michaelangelo Sanchez

10
     Dated: May 30, 2018                                  McGREGOR SCOTT
11
                                                          United States Attorney
12
                                                          /s/ Amanda Sanchez
13                                                        Amanda Sanchez
14
                                                          Assistant U.S. Attorney

15                                         ORDER

16          GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.
17
            The Court hereby orders Mr. Sanchez is allowed to be out of his home from 5:00 p.m. to
18   11:20 p.m. on Saturday, June 2, 2018, to attend the graduation celebration in Stockton. Mr.
19   Sanchez’s mother must accompany him at all times
20
     Dated: June 1, 2018
21                                                    _____________________________________
                                                      CAROLYN K. DELANEY
22
                                                      UNITED STATES MAGISTRATE JUDGE
23

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